          Case 2:22-cv-05097-AB-SHK           Document 278 Filed 10/29/24     Page 1 of 31 Page ID
                                                     #:9506


                   1   SALIL BALI, State Bar No. 263001
                        sbali@stradlinglaw.com
                   2   STRADLING YOCCA CARLSON & RAUTH LLP
                       660 Newport Center Drive, Suite 1600
                   3   Newport Beach, CA 92660-6422
                       Telephone: 949.725.4000
                   4   Facsimile: 949.725.4100
                   5   ZIYONG SEAN LI, State Bar No. 289696
                        sli@beneschlaw.com
                   6   GREGORY C. PROCTOR, State Bar No. 311214
                        gproctor@beneschlaw.com
                   7   HAYK SNKHCHYAN, State Bar No. 341698
                        hsnkhchyan@beneschlaw.com
                   8   BENESCH FRIEDLANDER COPLAN & ARONOFF LLP
                       100 Pine Street, Suite 3100
                   9   San Francisco, CA 94111
                       Telephone: 628.600.2250
              10       Facsimile: 628.221.5828
              11       KAL K. SHAH (admitted pro hac vice)
                         kshah@beneschlaw.com
              12       SIMEON G. PAPACOSTAS (admitted pro hac vice)
                         spapacostas@beneschlaw.com
              13       BENESCH FRIEDLANDER COPLAN & ARONOFF LLP
                       71 S. Wacker Drive, Suite 1600
              14       Chicago, IL 60606
                       Telephone: 312.212.4949
              15       Facsimile: 312.767.9192
              16       Attorneys for Defendant, Feit Electric Co., Inc.
              17
                                       UNITED STATES DISTRICT COURT
              18                      CENTRAL DISTRICT OF CALIFORNIA
              19       SEOUL SEMICONDUCTOR CO., CASE NO. 2:22-cv-05097-AB-SHK
                       LTD., and SEOUL VIOSYS CO.,
              20       LTD.,                       Honorable Andre Birotte Jr
                                                   Magistrate Shashi H. Kewalramani
              21                      Plaintiffs,
                                                   REDACTED MOTION TO
              22                      v.           ENFORCE THE COURT’S
                                                   ORDER (DKT. 265) AND FOR
              23       FEIT ELECTRIC CO., INC.,    SANCTIONS
              24                          Defendant.          FAC Filed: December 21, 2022
              25
              26
              27
              28
S TRADLING Y OCCA
C ARLSON & R AUTH
      LAWYERS
   NEWPORT BEACH
          Case 2:22-cv-05097-AB-SHK          Document 278 Filed 10/29/24        Page 2 of 31 Page ID
                                                    #:9507


                   1                               NOTICE OF MOTION
                   2         PLEASE TAKE NOTICE that on December 6, 2024 at 10:00 a.m., or as
                   3   soon thereafter as the matter may be heard, in the Courtroom of the Honorable
                   4   André Birotte Jr., United States District Court Judge, located at 350 West First
                   5   Street, Los Angeles, California, 90012, Courtroom 7B, Defendant, Feit Electric
                   6   Co., Inc., will and hereby does move the Court for an order pursuant to FED. R.
                   7   CIV. P. 26, 37(b)-(c), and this Court’s inherent powers, to enforce the Court’s prior
                   8   order striking untimely produced documents (Dkt. 265) in their entirety for all
                   9   purposes.
              10             This Motion is made following the conference of counsel pursuant to L.R.
              11       7-3, which took place on September 26, 2024 between Feit Electric’s counsel
              12       Gregory Proctor and Salil Bali and Plaintiffs’ counsel Kevin Kudlac on the other.
              13       See concurrently filed Declaration of Gregory Proctor (the “Proctor Decl.”), ¶ 2.
              14       The parties then engaged in an informal meeting with the Special Master to further
              15       discuss the issues raised herein. Id. Following the informal meeting, the parties
              16       exchanged multiple correspondence and met and conferred again on October 15,
              17       2024. See Ex. DD.1 The parties also held a hearing with the Special Master on
              18       this issue on October 1, 2024, and October 8, 2024. As such the parties have
              19       engaged in fulsome discussions of their positions to see if issues could be
              20       narrowed or resolved before raising them to the Court. As the parties were unable
              21       to resolve the disputes raised herein, they now bring them to the Court.
              22             This Motion is based on this Notice, the accompanying Memorandum of
              23       Points and Authorities, the October 25, 2024 Declaration of Gregory C. Proctor,
              24       with exhibits, and upon such other matters as may be presented to the Court in
              25       connection with this Motion and any other matter that the Court deems
              26       appropriate.
              27       1
                        Exhibits A - FF are attached to the concurrently filed Declaration of Gregory C.
              28       Proctor ("Proctor Decl.”).
S TRADLING Y OCCA
C ARLSON & R AUTH
      LAWYERS
   NEWPORT BEACH
                           MOTION TO ENFORCE THE COURTS ORDER AND FOR SANCTIONS
          Case 2:22-cv-05097-AB-SHK                   Document 278 Filed 10/29/24                         Page 3 of 31 Page ID
                                                             #:9508


                   1                                         TABLE OF CONTENTS
                   2                                                                                                                     Page
                   3   I.     INTRODUCTION ........................................................................................ 1
                   4   II.    BACKGROUND .......................................................................................... 3
                   5          A.       This Court Already Excluded Plaintiffs’ Untimely Production of
                                       Long-Sought Chain-of-Custody Information .................................... 4
                   6
                              B.       Plaintiffs’ Failure to Comply with the Court’s Order ........................ 5
                   7
                                       1.       Plaintiffs’ Deficient September 5, 2024 Disclosure ................ 5
                   8
                                       2.       Plaintiffs’ October 1, 2024 Disclosure Did Not Comply ...... 11
                   9
                              C.       Plaintiffs’ Refusal to Withdraw Excluded Information ................... 15
              10
                       III. ARGUMENT ............................................................................................. 17
              11
                              A.       Legal Standards ................................................................................ 17
              12
                              B.       Exhibit 1 and the June Production Should be Stricken.................... 18
              13
                                       1.       The Court Should Strike the June Production ....................... 19
              14
                                       2.       Plaintiffs Should be Precluded from Relying on Exhibit 1 to
              15                                their Amended Disclosure ..................................................... 21
              16              C.       Feit Electric Should not Have to Incur the Unnecessary Expenses
                                       Resulting from Plaintiffs’ Conduct .................................................. 21
              17
                                       1.       Attorneys’ Fees Are Warranted Pursuant to Rule 37(b)(2)(C)
              18                                ............................................................................................... 22
              19                       2.       Attorneys’ Fees Are Warranted Pursuant to Section 1927.... 23
              20                       3.       Attorneys’ Fees Are Warranted Pursuant to the Court’s
                                                Inherent Powers ..................................................................... 24
              21
                              D.       This Court Already Ruled That Timely Resolution of this Issue is
              22                       Appropriate ...................................................................................... 25
              23       IV. CONCLUSION .......................................................................................... 25
              24
              25
              26
              27
              28
S TRADLING Y OCCA                                     -i-
C ARLSON & R AUTH
      LAWYERS
   NEWPORT BEACH
                             MOTION TO ENFORCE THE COURTS ORDER AND FOR SANCTIONS
          Case 2:22-cv-05097-AB-SHK                   Document 278 Filed 10/29/24                   Page 4 of 31 Page ID
                                                             #:9509


                   1                                     TABLE OF AUTHORITIES

                   2                                                                                                         Page(s)
                   3   Cases
                   4   Fair Hous. of Marin v. Combs,
                   5     285 F.3d 899 (9th Cir. 2002) ........................................................................... 22
                   6   Handloser v. HCL Am., Inc.,
                   7    No. 19CV01242LHKVKD, 2020 WL 6205214 (N.D. Cal. Oct. 22, 2020) ... 23

                   8   Harkey v. Beutler,
                        817 F. Appx. 389 (9th Cir. 2020) .................................................................... 22
                   9
              10       Link v. Wabash R. Co.,
                         370 U.S. 626 (1962) ........................................................................................ 18
              11
                       MGIC Indem. Corp. v. Moore,
              12
                        952 F.2d 1120 (9th Cir.1991) .......................................................................... 18
              13
                       Nat’l Org. for the Reform of Marijuana Laws v. Mullen,
              14        828 F.2d 536 (9th Cir. 1987) ........................................................................... 17
              15
                       Pacific Harbor Capital, Inc. v. Carnival Air Lines, Inc.,
              16         210 F.3d 1112 (9th Cir. 2000) ......................................................................... 18
              17       Roadway Exp., Inc. v. Piper,
              18         447 U.S. 752 (1980) ........................................................................................ 18

              19       Sas v. Sawabeh Info. Servs.,
                         No. CV114147MMMMANX, 2015 WL 12711646 (C.D. Cal. Feb. 6, 2015) 24
              20
              21       Unigard Sec. Ins. Co. v. Lakewood Engineering & Mfg. Corp.,
                        982 F.2d 36 (9th Cir. 1992) ............................................................................. 18
              22
                       United States v. Haymond,
              23
                        672 F.3d 948 (10th Cir.2012) .......................................................................... 19
              24
                       In re Verisign, Inc. Sec. Litig.,
              25         No. C 02-02270 JW, 2004 WL 2445243, at *3 (N.D. Cal. Mar. 10, 2004) .... 20
              26
                       Williams v. Sprint/United Mgmt. Co.,
              27        230 F.R.D. 640 (D. Kan. 2005) ....................................................................... 19
              28
S TRADLING Y OCCA                                   -ii-
C ARLSON & R AUTH
      LAWYERS
   NEWPORT BEACH
                           MOTION TO ENFORCE THE COURTS ORDER AND FOR SANCTIONS
          Case 2:22-cv-05097-AB-SHK                     Document 278 Filed 10/29/24                        Page 5 of 31 Page ID
                                                               #:9510


                   1   Yeti by Molly, Ltd. v. Deckers Outdoor Corp.,
                         259 F.3d 1101 (9th Cir. 2001) ......................................................................... 17
                   2
                       Statutes
                   3
                   4   28 U.S.C. § 1927 ..................................................................................... 17, 18, 23

                   5   Other Authorities
                   6   FED. R. CIV. P. 37(b)(2)(C) ........................................................................... 17, 22
                   7   FED. R. CIV. P. 37(c)(1) ....................................................................................... 17
                   8
                       Rule 26(e)(1) ....................................................................................................... 17
                   9
                       Rule 37 ................................................................................................................ 17
              10
              11       705 Fed. Appx. 640, 641 (9th Cir. 2017) ............................................................ 17

              12       § II.B.1..................................................................................................... 20, 21, 23
              13
              14
              15
              16
              17
              18
              19
              20
              21
              22
              23
              24
              25
              26
              27
              28
S TRADLING Y OCCA                                   -iii-
C ARLSON & R AUTH
      LAWYERS
   NEWPORT BEACH
                           MOTION TO ENFORCE THE COURTS ORDER AND FOR SANCTIONS
          Case 2:22-cv-05097-AB-SHK           Document 278 Filed 10/29/24         Page 6 of 31 Page ID
                                                     #:9511


                   1               MEMORANDUM OF POINTS AND AUTHORITIES
                   2   I.   INTRODUCTION
                   3         This Court made clear in its August 22, 2024 Order that Plaintiffs’ untimely
                   4   disclosure of information long-sought by Defendant Feit Electric Company, Inc.
                   5   (“Feit Electric”) both prejudiced Feit Electric and lacked justification, and
                   6   therefore Plaintiffs could not use that information in this case. See Dkt. 265 (“the
                   7   Order”). Yet nearly two months later, Plaintiffs continue trying to circumvent that
                   8   order, admittedly attempting to reinsert previously stricken chain of custody
                   9   information back into the case. Specifically, despite the Court striking
              10       spreadsheets and declarations relying on what Plaintiffs describe as “SSCxxxx
              11       nomenclature” to both track the chain of custody of their testing and analysis
              12       documents and correlate those documents to specific accused products, Plaintiffs
              13       now attempt to reinsert that very same information back into the case in two ways.
              14             First, Plaintiffs expressly include this information on Exhibit 1 to Plaintiffs’
              15       October 1, 2024 Amended Disclosure2 of Duplicate Bates Ranges (the “Amended
              16       Disclosure”). Plaintiffs ostensibly do so under the guise of attempting to comply
              17       with the directives of the Order. But that Order only required Plaintiffs to identify:
              18       (1) the Bates ranges of documents pertaining to products “other than the 51
              19       accused products,”3 and (2) the Bates numbers of any documents in Plaintiffs’
              20       June 4, 2024 production (“the June Production”) that Plaintiffs claim are merely
              21       duplicates of previously produced documents in their August 9, 2023 and April 4,
              22       2024 productions. See Dkt. 265 at 12-13. Nothing in Exhibit 1 is responsive to
              23       either of those two mandates. Further, Plaintiffs’ counsel has conceded that
              24       Exhibit 1 was “a mistake,” ostensibly based on a “misunderstanding” of the
              25
                       2
                         Plaintiffs served an Amended Disclosure on October 1, 2024. As discussed in
              26       more detail below, Plaintiffs confirmed that their September 5, 2024 Disclosure
              27       of Duplicate Bates Ranges failed to comply with the Court’s Order, and the
                       Special Master allowed Plaintiffs to serve an Amended Disclosure.
              28       3
                         Unless otherwise indicated, all emphases are added.
S TRADLING Y OCCA                                               -1-
C ARLSON & R AUTH
      LAWYERS
   NEWPORT BEACH
                          MOTION TO ENFORCE THE COURTS ORDER AND FOR SANCTIONS
          Case 2:22-cv-05097-AB-SHK           Document 278 Filed 10/29/24        Page 7 of 31 Page ID
                                                     #:9512


                   1   Court’s clear directives. No justification exists for including Exhibit 1 in its
                   2   disclosure, and Plaintiffs’ refusal to agree to not rely on the information contained
                   3   within that exhibit has forced Feit Electric to seek relief from this Court.
                   4         Second, while Plaintiffs represented to this Court that “substantially all” of
                   5   the documents in the June Production were merely “duplicates” of documents they
                   6   previously produced in their August 9, 2023 and April 4, 2024 productions, a
                   7   closer look at the June Production reveals Plaintiffs’ representation to be false.
                   8   This is because Plaintiffs included new information in the metadata appended to
                   9   the documents in their June Production comprising the same chain of custody
              10       information, e.g., the “SSCxxxx nomenclature” that was stricken as untimely.
              11       That additional metadata was not produced with the so-called earlier “duplicates”
              12       Plaintiffs point to in their prior productions, and therefore under the Order, it
              13       should be stricken as well. As a general matter, Plaintiffs’ insistence that they be
              14       allowed to rely on their June Production when they have already identified so-
              15       called “duplicate” documents in the prior productions makes little sense. But
              16       Plaintiffs made their intent clear when previously claiming the June Production
              17       was necessary “to allow for clearer correlation between the [stricken] declarations
              18       and the files described therein,” see Dkt. 251 at 10, and later vaguely promising
              19       that, even without Exhibit 1, “[t]here are plenty of other ways that we can provide
              20       the same information to an expert without handing them that piece of -- that
              21       document.” Ex. A at 30:17-19.
              22             Indeed, Plaintiffs’ positions simply cannot withstand common sense
              23       scrutiny. If Exhibit 1 truly was “a mistake” or “a misunderstanding,” as Plaintiffs’
              24       counsel concedes, then why do Plaintiffs insist on including it in their disclosure?
              25       Similarly, if Plaintiffs already produced the so-called “duplicates” in prior
              26       productions, then why insist on using documents from the June Production? The
              27       parties have engaged in one round of briefing already, two hearings with the
              28
S TRADLING Y OCCA                                  -2-
C ARLSON & R AUTH
      LAWYERS
   NEWPORT BEACH
                          MOTION TO ENFORCE THE COURTS ORDER AND FOR SANCTIONS
          Case 2:22-cv-05097-AB-SHK           Document 278 Filed 10/29/24         Page 8 of 31 Page ID
                                                     #:9513


                   1   Special Master, and several meet and confers, and yet Plaintiffs have
                   2   conspicuously refrained from giving any plausible explanation for their positions.
                   3           It is important to recognize that Feit Electric’s motion arises out of
                   4   Plaintiffs’ improper document dump, at and after the close of discovery, which
                   5   tripled the page count of its production to date and belatedly proffered long-
                   6   sought, purported chain of custody information. The Court found that conduct
                   7   improper, and only granted concessions to Plaintiffs as to two subsets of
                   8   documents based on Plaintiffs’ misrepresentation that the June Production
                   9   contained mere duplicates and that they “could quickly identify” those duplicates
              10       and documents relating to products other than the 51 accused products in the case.
              11       See generally Dkt. 265. Feit Electric should not have to continue expending
              12       resources over four months after raising this issue just to keep Plaintiffs within
              13       the bounds this Court’s Order. Plaintiffs’ lack of justification for their pattern of
              14       repeated non-compliance with Court orders, and indeed their prolonging of the
              15       instant dispute, merits striking Exhibit 1 and the June Production in its entirety.
              16       Plaintiffs’ defiance of the Court Order has also unnecessarily multiplied the
              17       proceedings to the level that merits an award of reasonable attorneys’ fees.
              18               Plaintiffs’ attempt to end-run around the Court’s clear order should be
              19       rejected outright. Moreover, Plaintiffs’ repeated and unnecessary multiplication
              20       of these proceedings due to their failure to adhere to the Court’s orders warrant
              21       sanctions, including awarding attorneys’ fees to Feit Electric.
              22       II.    BACKGROUND
              23               On July 17, 2024, Feit Electric filed a Motion to Strike Late Produced
              24       Documents, seeking to strike Plaintiffs’ untimely productions made on May 22,
              25       2024, May 31, 2024, and the June Production. See Dkts. 245, 250, 257-1, 258. As
              26       this Court is familiar with the factual and procedural background leading up to
              27       that motion, see generally Dkt. 265, Feit Electric does not repeat it here, but rather
              28
S TRADLING Y OCCA                                     -3-
C ARLSON & R AUTH
      LAWYERS
   NEWPORT BEACH
                             MOTION TO ENFORCE THE COURTS ORDER AND FOR SANCTIONS
          Case 2:22-cv-05097-AB-SHK           Document 278 Filed 10/29/24       Page 9 of 31 Page ID
                                                     #:9514


                   1   incorporates by reference the Factual and Procedural Background from the prior
                   2   round of briefing on this issue. See Dkt. 250 at 2-17.
                   3        A.     This Court Already Excluded Plaintiffs’ Untimely Production of
                   4               Long-Sought Chain-of-Custody Information
                   5         On August 22, 2024, this Court granted Feit Electric’s Motion to Strike
                   6   Plaintiffs’ May 22, 2024 and May 31, 2024 productions in their entirety. See Dkt.
                   7   265 at 16. The Court based its ruling on its express findings that these productions
                   8   were untimely, prejudicial, and without substantial justification. Id. at 7-12. On
                   9   that same basis, the Court also granted Feit Electric’s motion to strike the June
              10       Production as to “newly produced documents relating to accused products in the
              11       June Production, including the 2022-2023 declarations.” Id. at 12-15.
              12             While the Court granted Feit Electric’s motion generally as to information
              13       produced for the first time at or after the close of discovery, the Court deemed
              14       Feit Electric’s motion moot “as to documents within the June Production relating
              15       to no-longer-accused products and duplicate documents.” See id. In lieu of
              16       striking those documents, the Court instead ordered Plaintiffs to provide two
              17       disclosures: (1) “a list of Bates ranges for documents in the June Production
              18       relating to products other than the 51 accused products,” and (2) “a list of Bates
              19       ranges for documents in the June Production that are duplicative of documents
              20       previously produced, along with cross-reference Bates numbers to the original
              21       production Bates numbers.” Id. at 12-13. According to the Court, the purpose of
              22       the first mandate was to allow Feit Electric to “quickly identify the non-relevant
              23       documents on which SSC agreed it does not intend to rely given the case
              24       narrowing order.” Id. at 13. As to the second mandate regarding duplicates, the
              25       Court took Plaintiffs at their word that they “could quickly identify the duplicates
              26
              27
              28
S TRADLING Y OCCA                                  -4-
C ARLSON & R AUTH
      LAWYERS
   NEWPORT BEACH
                          MOTION TO ENFORCE THE COURTS ORDER AND FOR SANCTIONS
        Case 2:22-cv-05097-AB-SHK            Document 278 Filed 10/29/24        Page 10 of 31 Page ID
                                                    #:9515


                   1   based on metadata,” and found that Plaintiffs’ identification of duplicates would
                   2   render Feit Electric’s motion moot as to these documents. Id. 4
                   3         The Court based its finding of mootness regarding the purported
                   4   “duplicates” on Plaintiffs’ express representations that the documents were
                   5   “duplicative to prior productions.” See id. at 3 (citing Dkt. 251 at 9); see also id.
                   6   at 12-13 (“[T]he June Production includes re-produced documents relating to the
                   7   51 accused products remaining in the case, i.e., they are duplicates. SSC states
                   8   that duplicates were provided to link specific documents to their corresponding
                   9   authenticating declarations.”); see also Dkt. 251-1, ¶ 64 (“Based on information
              10       received from SSC and my analysis of these files and the files previously
              11       produced in June 2023 and April 2024, substantially all of the 8100 documents
              12       referenced in the paragraph appear to have been previously produced in one or
              13       both of the June 2023 and April 2024 productions.”). But as discussed below,
              14       those representations would prove to be false.
              15            B.     Plaintiffs’ Failure to Comply with the Court’s Order
              16                   1.     Plaintiffs’ Deficient September 5, 2024 Disclosure
              17             On September 5, 2024, Plaintiffs served their Disclosure of Duplicative
              18       Bates Ranges Pursuant to Dkt. 265 (the “September 5 Disclosure”), which
              19       included a cover document and three exhibits. See Exs. B-E. Plaintiffs explained
              20       in the cover document that “Exhibit 1 hereto includes the bates ranges from
              21       Plaintiffs’ document productions of August 9, 2023 and April 4, 2024 which
              22       include duplicates of files produced on June 4, 2024 and the corresponding bates
              23       ranges for the June 4, 2024 production.” See Ex. B. Plaintiffs further explained
              24       that “Exhibits 2 and 3 hereto contain an identification of the specific duplicate
              25       files/documents from the August 9, 2023 production as compared to the June 4,
              26       4
                        The Special Master confirmed that allowing Plaintiffs to provide these two lists
              27       in lieu of striking those categories of documents “was so both parties can know
                       what the universe of discovery information is.” Ex. A at 12:6-9; see also id. at
              28
                       11:13-12:2, 27:5-12.
S TRADLING Y OCCA                                                -5-
C ARLSON & R AUTH
      LAWYERS
   NEWPORT BEACH
                           MOTION TO ENFORCE THE COURTS ORDER AND FOR SANCTIONS
        Case 2:22-cv-05097-AB-SHK            Document 278 Filed 10/29/24       Page 11 of 31 Page ID
                                                    #:9516


                   1   2024 production (Exhibit 2) and the April 4, 2024 production as compared to the
                   2   June 4, 2024 production (Exhibit 3).” Id. But Plaintiffs’ descriptions omitted key
                   3   aspects of their disclosure.
                   4         For example, Plaintiffs were tasked with identifying the “Bates ranges for
                   5   documents in the June Production relating to products other than the 51 accused
                   6   products,” and with identifying the so-called duplicates from the June Production
                   7   that Plaintiffs represented had been previously produced in their August 9, 2023
                   8   and April 4, 2024 productions. See Dkt. 265 at 12-13. But in their September 5
                   9   Disclosure, rather than identifying documents relating to products “other than the
              10       51 accused products” as ordered by the Court, Exhibit 1 does the exact opposite,
              11       purporting to correlate Bates ranges on a product-by-product basis only for the 51
              12       accused products remaining in the case, as shown in the below excerpt:
              13
              14
              15       Ex. C. 5 And while Plaintiffs described Exhibit 1 as “includ[ing] the bates ranges
              16       from Plaintiffs’ document productions of August 9, 2023 and April 4, 2024 which
              17       include duplicates of files produced on June 4, 2024 and the corresponding bates
              18       ranges for the June 4, 2024 production,” see Ex. B, Feit Electric’s review of the
              19       documents found that not all documents contained within the Bates range for the
              20       June Production listed on Exhibit 1 have corresponding so-called “duplicates” 6 in
              21       the prior productions—i.e., there exist documents within the Bates ranges in
              22       Exhibit 1 that were produced for the first time in the June Production. See Ex. F.
              23
                       5
                         The first column of Exhibit 1 is titled “Accused Product” and only lists the 51
              24       products remaining in this case, e.g., Model Nos. G3060/RGBW/FIL/AG,
              25       LEDR4/RGBW/AG,             A800/827/10KLED/2,           LEDR4B/950CA/MP/6,
                       LEDR4HO/6WYCA, and so on. Compare id. with Dkt. 179-2.
              26       6
                         Although Plaintiffs represented that the June Production contained mere
              27       “duplicates,” the documents identified as “duplicates” in the June Production
                       contained additional chain-of-custody information in their metadata that was not
              28
                       previously produced.
S TRADLING Y OCCA                                                -6-
C ARLSON & R AUTH
      LAWYERS
   NEWPORT BEACH
                          MOTION TO ENFORCE THE COURTS ORDER AND FOR SANCTIONS
Case 2:22-cv-05097-AB-SHK   Document 278 Filed 10/29/24   Page 12 of 31 Page ID
                                   #:9517
        Case 2:22-cv-05097-AB-SHK             Document 278 Filed 10/29/24        Page 13 of 31 Page ID
                                                     #:9518


                   1   to identify so-called “duplicates,” Plaintiffs did not differentiate in those exhibits
                   2   between claimed duplicate documents pertaining to the 51 accused products
                   3   remaining in the case and those pertaining to products other than those 51 accused
                   4   products. See Exs. D, E, F. Plaintiffs’ identification of purported “duplicates” on
                   5   Exhibits 2 and 3 also appeared inconsistent with the Plaintiffs’ representations of
                   6   “duplicates” listed on Exhibit 1. See Ex. F.
                   7        On September 19, 2024, having discovered numerous deficiencies in
                   8   Plaintiffs’ disclosure, counsel for Feit Electric wrote to Plaintiffs seeking a meet
                   9   and confer specifically to discuss Exhibit 1, and to clarify Feit Electric’s
              10       understanding of the entirety of Plaintiffs’ unclear disclosure. See Ex. F. Feit
              11       Electric described several exemplary deficiencies in detail. See id. On September
              12       20, 2024, Feit Electric also filed a formal objection to Plaintiffs’ Notice of
              13       Compliance, identifying for the Court exemplary deficiencies, indicating that its
              14       review of Plaintiffs’ over-400 page disclosure was ongoing, and reserving its right
              15       to make further challenges to that disclosure. See Dkt. 273.
              16             On September 24, 2024, Plaintiffs’ counsel responded to Feit Electric,
              17       stating only that, “I will not respond to you[r] accusations of impropriety or of
              18       purported failures,” and that “Plaintiffs believe they have complied with the
              19       Court’s order.” See Ex. G. Nevertheless, Plaintiffs offered to meet and confer, and
              20       to “revisit the information included in the charts,” presumably Exhibits 1-3, “to
              21       see if there are any errors and, if so, correct them.” Id. On September 25, 2024,
              22       Feit Electric responded and requested that, during the parties’ meet and confer,
              23       Plaintiffs “provide a comprehensive a comprehensive response either confirming
              24       the failure to comply or explaining how it purportedly did comply.” Ex. H. That
              25       same day, Feit Electric informed the Special Master of the status of the ongoing
              26       dispute, the parties’ plan to meet and confer, and of the potential need for an
              27       expedited briefing schedule. See Ex. I.
              28
S TRADLING Y OCCA                                  -8-
C ARLSON & R AUTH
      LAWYERS
   NEWPORT BEACH
                          MOTION TO ENFORCE THE COURTS ORDER AND FOR SANCTIONS
        Case 2:22-cv-05097-AB-SHK            Document 278 Filed 10/29/24         Page 14 of 31 Page ID
                                                    #:9519


                   1        On September 26, 2024, the parties held a meet-and-confer to discuss the
                   2   issues raised in Feit Electric’s September 19, 2024 email. See Proctor Decl., ¶ 2.
                   3   During that meet and confer, Plaintiffs’ counsel stated that Exhibit 1 was not
                   4   meant to include a one-to-one overlap of duplicate documents and that the Bates
                   5   ranges for the June Production listed on Exhibit 1 also included documents that
                   6   Plaintiffs knew were not duplicates of previously produced documents. Id.
                   7   Plaintiffs further committed to providing an additional disclosure of Bates ranges
                   8   of documents relating to products other than the 51 accused products but refused
                   9   to withdraw Exhibit 1 from their disclosure. Id. Because the parties remained at
              10       an impasse, Feit Electric requested a hearing before the Special Master. See Ex. J.
              11            On October 1, the parties held a hearing before the Special Master to discuss
              12       Plaintiffs’ noncompliance with the Court’s Order and a potential briefing schedule
              13       for motion practice. During the hearing, when Feit Electric pointed out the
              14       inconsistent characterizations of Exhibit 1 in the cover document of Plaintiffs
              15       September 5 Disclosure and Plaintiffs’ counsel’s alternate description during the
              16       parties’ meet and confer, counsel conceded that the Bates range listed for the June
              17       Production for any given product does not, in fact, “correspond” to duplicates of
              18       those documents in either of the previous productions:
              19            [COUNSEL]: . . . The cover document does not say that those ranges
              20            only include duplicates. It doesn’t say that. . . . It says, these are the
              21            Bates ranges that include duplicates. . . . I didn’t say these are the Bates
              22            ranges and every single document, every Bates label within them is a
              23            duplicate.
              24       Ex. A at 17:9-21. Notably, Plaintiffs’ counsel admitted that the express purpose
              25       of Exhibit 1 was to provide previously stricken chain of custody information:
              26            [COUNSEL]: Exhibit 1 was simply meant to provide an identification
              27            of the products still at issue, the SSC XXX [sic] number that
              28           corresponds to the productions. You may remember this from the
S TRADLING Y OCCA                                          -9-
C ARLSON & R AUTH
      LAWYERS
   NEWPORT BEACH
                          MOTION TO ENFORCE THE COURTS ORDER AND FOR SANCTIONS
        Case 2:22-cv-05097-AB-SHK            Document 278 Filed 10/29/24        Page 15 of 31 Page ID
                                                    #:9520


                   1        briefing. And then from each of the three productions, the Bates ranges
                   2        that were identified as within the scope of that SSC XXX [sic] item.
                   3   Id. at 10:4-10. Plaintiffs’ counsel also conceded that despite the Order clearly
                   4   requiring Plaintiffs “to provide a list of Bates ranges for documents in the June
                   5   Production relating to products other than the 51 accused products,” Dkt. 265 at
                   6   12-13, that counsel “made a mistake in not doing that.” See Ex. A at 18:11-14
                   7   (“To the extent that we did not specifically identify the Bates ranges for products
                   8   no longer accused, I have done my very best to explain that I made a mistake in
                   9   not doing that.”); see also id. at 18:14-17 (“I misinterpreted, misunderstood the
              10       order because I believe we were supposed to be identifying the documents that
              11       were related to the products that were still at issue.”). Plaintiffs’ counsel then
              12       represented that they would amend their disclosure in an attempt to bring their
              13       disclosure into compliance by the end of the day. See id. at 18:18-21.
              14             Notably, in response to Feit Electric’s concerns about the inclusion of
              15       clearly stricken information in Exhibit 1, the Special Master remarked that
              16       “Exhibit 1 is not evidence of anything,” and that “[t]here could be no sponsoring
              17       witness.” See id. at 20:23-26:18. But when asked if Plaintiffs would nevertheless
              18       be using the information contained in Exhibit 1, Plaintiffs’ counsel chose his
              19       words carefully, stating only that, “I will not be a sponsoring witness of Exhibit 1
              20       at any trial in this case” and “there was not an intent to create evidence for use at
              21       trial.” Id. at 30:4-12. But counsel conspicuously refused to commit to not using
              22       the belated and untimely information contained within the exhibit, vaguely stating
              23       without further explanation that “[t]here are plenty of other ways that we can
              24       provide the same information to an expert without handing them that piece of --
              25       that document.” Id. at 30:17-19.
              26             Based on Plaintiffs’ promise to amend their disclosure by the end of the
              27       day, the Special Master recommended that the parties hold another hearing after
              28       Feit Electric reviewed the promised amendment. See Id. at 30:25-33:2.
S TRADLING Y OCCA                                            -10-
C ARLSON & R AUTH
      LAWYERS
   NEWPORT BEACH
                          MOTION TO ENFORCE THE COURTS ORDER AND FOR SANCTIONS
        Case 2:22-cv-05097-AB-SHK            Document 278 Filed 10/29/24        Page 16 of 31 Page ID
                                                    #:9521


                   1               2.     Plaintiffs’ October 1, 2024 Disclosure Did Not Comply
                   2         On the evening of October 1, 2024, Plaintiffs served their Amended
                   3   Disclosure of Duplicate Bates Ranges Pursuant to Dkt. 265 (“the Amended
                   4   Disclosure”). In their Amended Disclosure, Plaintiffs included an amended
                   5   version of previously-served Exhibit 1, the previously served Exhibits 2-3, and a
                   6   new Exhibit 4, which Plaintiffs described in their amended cover document as
                   7   “contain[ing] an explicit identification of bates ranges from the June 4, 2024
                   8   production that relate to products other than the remaining 51 accused products as
                   9   referenced in the final paragraph of page 12 and first paragraph of page 13 of Dkt.
              10       265.” See Ex. K. Even as amended, Exhibit 1 remained largely unchanged in
              11       substance, as it still purports to correlate individual accused products to not only
              12       the Bates ranges of Plaintiffs’ production, but also to the “SSCxxxx” file structure
              13       nomenclature information already stricken by this Court. See Ex. L.
              14             Moreover, after reviewing Plaintiffs’ Amended Disclosures with the
              15       benefit of Plaintiffs’ additional explanations during the parties’ September 26,
              16       2024 meet and confer and subsequent October 1, 2024 hearing with the Special
              17       Master, Feit Electric discovered that Plaintiffs’ prior representation that the June
              18       Production merely contained “duplicates” to be false. Specifically, the alleged
              19       “duplicates” in Plaintiffs’ June Production contain additional information in the
              20       accompanying metadata relating to the “SSCxxxx” file structure that (1) was not
              21       previously contained in the previously produced files from the April 4, 2024 and
              22       August 9, 2023 productions; and (2) comprises the same information that was
              23       deemed untimely and stricken by this Court in its Order.
              24
              25
              26
              27
              28
S TRADLING Y OCCA                                  -11-
C ARLSON & R AUTH
      LAWYERS
   NEWPORT BEACH
                          MOTION TO ENFORCE THE COURTS ORDER AND FOR SANCTIONS
Case 2:22-cv-05097-AB-SHK   Document 278 Filed 10/29/24   Page 17 of 31 Page ID
                                   #:9522
Case 2:22-cv-05097-AB-SHK   Document 278 Filed 10/29/24   Page 18 of 31 Page ID
                                   #:9523
        Case 2:22-cv-05097-AB-SHK           Document 278 Filed 10/29/24     Page 19 of 31 Page ID
                                                   #:9524


                   1         The same is true for Exhibit 3 to Plaintiffs’ Amended Disclosure, which
                   2   represents, for example, that the document beginning with Bates number
                   3   SSC_FEIT00171298 from the June Production is merely a “duplicate” of the
                   4   document beginning with Bates number SSC_FEIT00058235 from the April 4,
                   5   2024 production. But just like the previous examples, SSC_FEIT00171298 also
                   6   contains “File Path” information not provided with the previously-produced
                   7   SSC_FEIT0058235. The below image shows the metadata produced for
                   8   SSC_FEIT00171298, produced in the June Production:
                   9
              10
              11
              12
              13
              14
              15
              16
              17
              18
              19       See Ex. S. But again, the previously produced alleged “duplicate” document form
              20       the April 4, 2024 production, SSC_FEIT00058235, was not produced with this
              21       metadata field or accompanying information:
              22
              23
              24
              25
              26
              27
              28
S TRADLING Y OCCA                                  -14-
C ARLSON & R AUTH
      LAWYERS
   NEWPORT BEACH
                          MOTION TO ENFORCE THE COURTS ORDER AND FOR SANCTIONS
        Case 2:22-cv-05097-AB-SHK            Document 278 Filed 10/29/24       Page 20 of 31 Page ID
                                                    #:9525


                   1   See Ex. T. This is not the only example on Exhibit 3. Compare, e.g., Ex. U with
                   2   Ex. V. In fact, none of the alleged duplicates from the August 9, 2023 and April
                   3   4, 2024 productions that Feit Electric reviewed were produced with a “File Path”
                   4   field in their accompanying metadata, let alone the “SSCxxxx nomenclature”
                   5   information that Plaintiffs included in their untimely June Production.
                   6        C.     Plaintiffs’ Refusal to Withdraw Excluded Information
                   7         On October 4, 2024, Feit Electric sent an email to Plaintiffs and the Special
                   8   Master, maintaining Feit Electric’s objection to Plaintiffs’ Amended Disclosure
                   9   and outlining the bases for its objection. See Ex. W. In this email, Feit Electric
              10       informed the Special Master of its discovery that “Plaintiffs’ claim that the June
              11       4, 2024 production consists of ‘duplicates’ is demonstrably false.” Id. On October
              12       7, 2024, the Special Master responded and invited the parties “to have a follow up
              13       Zoom conference continuing our discussion from last week, now updated by the
              14       amended disclosures.” See Ex. X.
              15             On October 8, 2024, the parties held a second hearing with the Special
              16       Master to outline their dispute. During that hearing, the Special Master confirmed
              17       that as to amended Exhibit 1, “it does have some columns that were derived from
              18       information that was in the tracking sheet and master sheet, and so obviously the
              19       -- the August order that you referenced would control.” See Ex. Y at 8:2-23. The
              20       Special Master then suggested that the parties meet and confer and attempt to
              21       resolve the dispute via stipulation. On October 9, 2024, Defendant wrote to
              22       Plaintiffs and provided a detailed description of the specific deficiencies still
              23       present in the Amended Disclosure, with multiple examples. See Ex. Z. Defendant
              24       also attached a proposed stipulation, seeking Plaintiffs’ agreement that they would
              25       not rely on Exhibit 1 or any of the information contained therein, nor would they
              26       rely on any documents in the June Production that Plaintiffs contended were
              27       merely duplicates of previously produced documents but which contained
              28
S TRADLING Y OCCA                                  -15-
C ARLSON & R AUTH
      LAWYERS
   NEWPORT BEACH
                          MOTION TO ENFORCE THE COURTS ORDER AND FOR SANCTIONS
        Case 2:22-cv-05097-AB-SHK             Document 278 Filed 10/29/24        Page 21 of 31 Page ID
                                                     #:9526


                   1   metadata not produced earlier in the case. Feit Electric requested a prompt meet
                   2   and confer on these issues.
                   3         On October 10, 2024, Plaintiffs responded by stating that they were waiting
                   4   for input from an attorney that was currently unavailable. See Ex. CC. That same
                   5   day, Feit Electric responded to note the exigency of the issue and further to point
                   6   out that resolution would not require any specialized knowledge, such that “one
                   7   of the numerous attorneys that one of the numerous attorneys that have made
                   8   appearances in this case” on behalf of Plaintiffs should “be capable of addressing
                   9   this issue.” See id. On October 14, 2024, Plaintiffs responded by disagreeing that
              10       they failed to comply with the Court’s order, stating that the Court’s order “in no
              11       way was directed to file path metadata” and that “[t]here is no exigency here,” but
              12       agreed to meet and confer the next day. See Ex. AA. On October 15, 2024, thirty
              13       minutes before the parties’ planned meet and confer, Plaintiffs provided revisions
              14       to Feit Electric’s draft stipulation. See Ex. BB. The parties held a meet and confer
              15       that same day, during which the parties discussed each others’ proposals, with
              16       Feit Electric agreeing to provide a response to Plaintiffs’ most recent proposal.
              17             On October 18, 2024, Feit Electric provided a revised proposed stipulation
              18       based on the parties’ discussion, in which Feit Electric “clarified the language
              19       regarding Exhibit 1 to make clear that we were not seeking to preclude Plaintiffs
              20       from relying on documents found within the listed Bates ranges (unless those
              21       documents were already deemed stricken).” See Ex. DD. Feit Electric also
              22       rejected provisions it deemed ancillary to the parties’ dispute. See id. Feit Electric
              23       requested that Plaintiffs provide their response by October 21, 2024. On October
              24       23, 2024, Plaintiffs responded with a “revised” stipulation that mirrored Plaintiffs’
              25       prior revision verbatim. Compare, e.g., Ex. BB with Ex. EE. On October 25, 2024,
              26       Feit Electric rejected those revisions, noting that “Plaintiffs’ latest revisions
              27       appear to mirror Plaintiffs’ October 15, 2024 revisions which we previously
              28       indicated we would not agree to” and that the parties were at an impasse. Ex. FF.
S TRADLING Y OCCA                                             -16-
C ARLSON & R AUTH
      LAWYERS
   NEWPORT BEACH
                          MOTION TO ENFORCE THE COURTS ORDER AND FOR SANCTIONS
        Case 2:22-cv-05097-AB-SHK             Document 278 Filed 10/29/24        Page 22 of 31 Page ID
                                                     #:9527


                   1   III. ARGUMENT
                   2        A.     Legal Standards
                   3         The Court possesses the power to take requisite actions “necessary or
                   4   appropriate to effectuate and prevent the frustration of orders it has previously
                   5   issued.” Nat’l Org. for the Reform of Marijuana Laws v. Mullen, 828 F.2d 536,
                   6   544 (9th Cir. 1987) (citing United States v. New York Tel. Co., 434 U.S. 159, 172
                   7   (1977)). As this Court has already recognized, “Rule 37 mandates that a party’s
                   8   failure to comply with the obligations under Rule 26(e)(1) results in that party
                   9   being precluded from ‘use [of] that information . . . to supply evidence on a
              10       motion, at a hearing, or at a trial, unless the failure was substantially justified or
              11       is harmless.” Dkt. 265 at 4-5 (quoting Jones v. Travelers Cas. Ins. Co. of Am., 304
              12       F.R.D. 677, 678–79); FED. R. CIV. P. 37(c)(1); see also Silver State Broad., LLC,
              13       705 Fed. Appx. 640, 641 (9th Cir. 2017) (recognizing that Rule 37(c)(1) operates
              14       as “an automatic exclusion sanction for violations” and noting that “[defendant]
              15       did not need to move to compel disclosure before seeking sanctions”); Yeti by
              16       Molly, Ltd. v. Deckers Outdoor Corp., 259 F.3d 1101, 1106 (9th Cir. 2001)
              17       (emphasizing that courts “have upheld the use of the sanction even when a
              18       litigant’s entire cause of action or defense has been precluded”). “Rule 37(c)(1) is
              19       ‘self-executing’ and ‘automatic.’” Id. (quoting Yeti by Molly Ltd v. Deckers
              20       Outdoor Corp., 259 F.3d 1101, 1106 (9th Cir. 2001)).
              21             Rule 37 also mandates the imposition of “reasonable expenses, including
              22       attorney’s fees, caused by the failure” to comply with a discovery order. FED. R.
              23       CIV. P. 37(b)(2)(C). Under Rule 37, the Court “must order” the payment of
              24       reasonable expenses by the disobedient party “unless the failure was substantially
              25       justified or other circumstances make an award of expenses unjust.” Id. Under
              26       Section 1927, the Court may require any attorney “who so multiplies the
              27       proceedings in any case unreasonably and vexatiously” to pay “the excess costs,
              28       expenses, and attorneys’ fees reasonably incurred because of such conduct.” 28
S TRADLING Y OCCA                                            -17-
C ARLSON & R AUTH
      LAWYERS
   NEWPORT BEACH
                          MOTION TO ENFORCE THE COURTS ORDER AND FOR SANCTIONS
        Case 2:22-cv-05097-AB-SHK            Document 278 Filed 10/29/24       Page 23 of 31 Page ID
                                                    #:9528


                   1   U.S.C. § 1927. The imposition of sanctions under section 1927 “requires a finding
                   2   of bad faith.” Pacific Harbor Capital, Inc. v. Carnival Air Lines, Inc., 210 F.3d
                   3   1112, 1118 (9th Cir. 2000). An attorney’s bad faith is assessed under a subjective
                   4   standard, meaning that “[k]nowing or reckless conduct meets this standard.”
                   5   MGIC Indem. Corp. v. Moore, 952 F.2d 1120, 1121–22 (9th Cir.1991). Finally,
                   6   district courts have inherent powers to “manage their own affairs so as to achieve
                   7   the orderly and expeditious disposition of cases.” Unigard Sec. Ins. Co. v.
                   8   Lakewood Engineering & Mfg. Corp., 982 F.2d 36, 368 (9th Cir. 1992). These
                   9   inherent powers are “governed not by rule or statute but by the control necessarily
              10       vested in courts to manage their own affairs so as to achieve the orderly and
              11       expeditious disposition of cases.” Link v. Wabash R. Co., 370 U.S. 626, 630–631
              12       (1962). Pursuant to these inherent powers, district courts may impose sanctions,
              13       including attorneys’ fees, for the “willful disobedience of a court order” Roadway
              14       Exp., Inc. v. Piper, 447 U.S. 752, 766 (1980).
              15            B.     Exhibit 1 and the June Production Should be Stricken
              16             During the Parties’ October 8, 2024 hearing, the Special Master accurately
              17       described the relevant inquiry as whether there is “information that was stricken
              18       previously that has somehow made its way back into the record in more than just
              19       a simple cataloging way for attorney purposes, not for evidentiary purposes, and
              20       if so, what, if anything needs to be done about it?” Ex. Y at 14:4-8. The answer to
              21       this question is straightforward and governed by the Court’s order. The
              22       information in Exhibit 1 and within the metadata of the documents in Plaintiffs’
              23       June Production is information that was already stricken—and it should not be
              24       reintroduced.
              25             In light of the additional information associated with the so-called
              26       “duplicates” in the June Production, the Court should follow the reasoning of its
              27       Order and strike the entire June Production. Similarly, no reason exists for
              28       Plaintiffs’ provision of Exhibit 1—it is not responsive to the Court’s Order and it
S TRADLING Y OCCA                                               -18-
C ARLSON & R AUTH
      LAWYERS
   NEWPORT BEACH
                          MOTION TO ENFORCE THE COURTS ORDER AND FOR SANCTIONS
        Case 2:22-cv-05097-AB-SHK            Document 278 Filed 10/29/24        Page 24 of 31 Page ID
                                                    #:9529


                   1   includes information that was already stricken. Plaintiffs’ refusal to agree to not
                   2   rely on the information contained within Exhibit 1 is untenable.
                   3                1.     The Court Should Strike the June Production
                   4         Metadata, commonly defined as “data about data”, is “information
                   5   describing    the   history,   tracking,   or   management     of   an   electronic
                   6   document.” Williams v. Sprint/United Mgmt. Co., 230 F.R.D. 640, 646 (D. Kan.
                   7   2005). It includes “all of the contextual, processing, and use information needed
                   8   to identify and certify the scope, authenticity, and integrity of active or archival
                   9   electronic information or records.” Id. (citation omitted); United States v.
              10       Haymond, 672 F.3d 948, 952 n. 10 (10th Cir.2012) (“Metadata, which is
              11       commonly described as ‘data about data,’ is defined as [s]econdary data that
              12       organize, manage, and facilitate the use and understanding of primary data.”)
              13       (alteration in original). Critically, “if the producing party knows or should
              14       reasonably know that particular metadata is relevant to the dispute, it should be
              15       produced.” Williams v. Sprint/United Mgmt. Co., 230 F.R.D. 640, 654 (D. Kan.
              16       2005) (citing The Sedona Principles, Cmt. 12.a.).
              17             Plaintiffs’ refusal to agree to not rely on documents in its June Production,
              18       while simultaneously maintaining that there are “duplicates” of those same
              19       documents in its previous August 9, 2023 and April 4, 2024 productions makes
              20       no sense, and gives the game away. If the documents are merely duplicates, then
              21       why can Plaintiffs not rely on the earlier-produced versions? Plaintiffs have no
              22       answer, because their premise is false. Indeed, Plaintiffs have conceded the reason
              23       for maintaining their position is that they intend to use the “SSCxxxx
              24       nomenclature” in the metadata. See, e.g., Ex. A at 30:17-19 (“There are plenty of
              25       other ways that we can provide the same information to an expert without handing
              26       them that piece of – that document.”); Ex. AA (asserting that the Court’s Order
              27       “in no way was directed to file path metadata”).
              28
S TRADLING Y OCCA                                  -19-
C ARLSON & R AUTH
      LAWYERS
   NEWPORT BEACH
                          MOTION TO ENFORCE THE COURTS ORDER AND FOR SANCTIONS
        Case 2:22-cv-05097-AB-SHK            Document 278 Filed 10/29/24        Page 25 of 31 Page ID
                                                    #:9530


                   1         But there is no dispute that the documents Plaintiffs identify as “duplicates”
                   2   in their June Production contain the “SSCxxxx nomenclature” that the Court has
                   3   already deemed stricken. Nor can there be any question that this constitutes
                   4   additional information not present in the so-called “duplicates” in Plaintiffs’ prior
                   5   production. That information was newly produced as part of the June Production.
                   6   Therefore, they are not duplicates. Accordingly, under the Court’s reasoning in its
                   7   August 22, 2024 Order, Plaintiffs should not be allowed to utilize this information
                   8   for any reason in this case. See Dkt. 265 at 7 (“Although the spreadsheets were
                   9   produced before the final deadline, they were not timely produced in connection
              10       with (1) Feit Electric’s requests for discovery concerning the chain of custody of,
              11       and substance surrounding, product testing, and (2) the relevant 30(b)(6)
              12       deposition on May 1, 2024.”), 10-11 (“The fact that the declarations were drafted
              13       and signed after the relevant testing/chain of custody deposition suggests they
              14       were intended to supply additional information to bolster SSC’s testing
              15       procedures and/or results . . .”), 12-15 (striking “newly produced documents
              16       relating to accused products in the June Production”).
              17             Moreover, Plaintiffs conceded that the purpose of this additional
              18       information is to help Plaintiffs prove authenticity of previously produced
              19       documents. See supra, § II.B.1. This is a clear attempt at an end-run around this
              20       Court’s Order. This Court has already held that “if SSC had information . . . to
              21       support authenticity and reliability of its testing, it was required to produce that
              22       information to Feit Electric with time to explore it during (not after) discovery,”
              23       and that “[i]t would be unfair to run the clock on discovery and serve documents
              24       seeking to rebut challenges raised during discovery only after the close of
              25       discovery.” See Dkt. 265 at 15; see also In re Verisign, Inc. Sec. Litig., No. C 02-
              26       02270 JW, 2004 WL 2445243, at *3 (N.D. Cal. Mar. 10, 2004) (“Defendants have
              27       been on notice of the document requests since August 4, 2003, and they cannot
              28
S TRADLING Y OCCA                                  -20-
C ARLSON & R AUTH
      LAWYERS
   NEWPORT BEACH
                          MOTION TO ENFORCE THE COURTS ORDER AND FOR SANCTIONS
        Case 2:22-cv-05097-AB-SHK            Document 278 Filed 10/29/24        Page 26 of 31 Page ID
                                                    #:9531


                   1   now argue that a series of recent Court orders, prompted by their own
                   2   noncompliance, are solely at fault for their now inconvenient predicament.”).
                   3         Plaintiffs’ representations that the June Production largely contained
                   4   “duplicates” of documents already produced is therefore false. The Court relied
                   5   on those representations when declining to strike the subset of alleged
                   6   “duplicates”—notably which Plaintiffs had not yet identified. Plaintiffs should not
                   7   be able to benefit from their misrepresentations.
                   8               2.     Plaintiffs Should be Precluded from Relying on Exhibit 1
                   9                      to their Amended Disclosure
              10             Plaintiffs have represented that they do not intend to offer Exhibit 1, itself,
              11       into evidence. See supra, § II.B.1. And while Plaintiffs have thus far refused to
              12       agree that they will not use the information contained within Exhibit 1, the Special
              13       Master has stated that the Court’s Order “obviously” controls as to the “columns
              14       that were derived from information that was in the tracking sheet and master
              15       sheet,” i.e., the columns correlating Plaintiffs’ testing and analysis results on a
              16       product-by-product basis for the first time despite this information being long-
              17       sought. See Ex. Y at 8:2-23. Exhibit 1 does not respond to either category of
              18       documents that the Court ordered Plaintiffs to produce to Feit Electric. However,
              19       given Plaintiffs’ refusal to withdraw the exhibit, Feit Electric requests, out of an
              20       abundance of caution, that the Court formally preclude Plaintiffs from relying on
              21       Exhibit 1—and the information contained therein—for any purpose in this case.
              22            C.     Feit Electric Should not Have to Incur the Unnecessary
              23                   Expenses Resulting from Plaintiffs’ Conduct
              24             Plaintiffs’ continued refusal to honor this Court’s Order has unnecessarily
              25       driven up litigation costs by forcing Feit Electric to undertake significant time and
              26       effort not only to review what should have been a straightforward and simple
              27       disclosure, but to hold Plaintiffs to the law of the case. Plaintiffs’ continued and
              28
S TRADLING Y OCCA                                  -21-
C ARLSON & R AUTH
      LAWYERS
   NEWPORT BEACH
                          MOTION TO ENFORCE THE COURTS ORDER AND FOR SANCTIONS
        Case 2:22-cv-05097-AB-SHK            Document 278 Filed 10/29/24        Page 27 of 31 Page ID
                                                    #:9532


                   1   repeated defiance of the Court’s rulings in this case7 has been highly prejudicial—
                   2   forcing Feit Electric to undertake unnecessary and significant expenses in the
                   3   midst of claim construction briefing and argument no less—and lacks any
                   4   justification. Feit Electric should not be responsible for the costs arising out of
                   5   Plaintiffs’ failure to comply with the Court’s Order two times—first via its
                   6   admittedly noncompliant September 5 Disclosure, and again with their Amended
                   7   Disclosure after the Special Master granted them a second chance.
                   8               1.    Attorneys’ Fees Are Warranted Pursuant to
                   9                     Rule 37(b)(2)(C)
              10             Feit Electric is entitled to the reasonable expenses incurred in preparing and
              11       filing both the instant motion and the original Motion to Strike on this issue. FED.
              12       R. CIV. P. 37(b)(2)(C). As an initial matter, Plaintiffs’ misrepresentations to the
              13       Court that documents in the June 4 production largely contained “duplicates” of
              14       previously produced documents constitutes grounds for imposing sanctions
              15       against Plaintiff. See Harkey v. Beutler, 817 F. Appx. 389, 392 (9th Cir. 2020)
              16       (awarding attorneys’ fees based on “disobedience of court orders and his
              17       misrepresentations to the court”); Fair Hous. of Marin v. Combs, 285 F.3d 899,
              18       906 (9th Cir. 2002) (awarding attorneys’ fee where the party made material
              19       misrepresentations to the district court and counsel regarding discovery).
              20             Plaintiffs must also bear the cost of forcing Feit Electric into motion
              21       practice just to enforce the Court’s Order. As discussed above, Plaintiffs
              22       repeatedly failed to comply with the two straightforward mandates of the Court
              23       Order. Even now, Plaintiffs continue to improperly insist on introducing chain of
              24       custody information into the case under the guise of compliance. No
              25       circumstances exist that make an award of expenses unjust.
              26
              27       7
                         This is not the first time Plaintiffs defied or outright ignored a Court order,
                       forcing Feit Electric to undergo motion practice just to obtain the relief to which
              28
                       it was already entitled. See, e.g., Dkt. 124, 148, 157, 207.
S TRADLING Y OCCA                                                -22-
C ARLSON & R AUTH
      LAWYERS
   NEWPORT BEACH
                           MOTION TO ENFORCE THE COURTS ORDER AND FOR SANCTIONS
        Case 2:22-cv-05097-AB-SHK            Document 278 Filed 10/29/24       Page 28 of 31 Page ID
                                                    #:9533


                   1               2.    Attorneys’ Fees Are Warranted Pursuant to Section 1927
                   2         In addition, payment of attorneys’ fees pursuant to Section 1927 is justified
                   3   in this specific instance, given that Plaintiffs’ dilatory and evasive behavior has
                   4   clearly multiplied the proceedings in this case. Plaintiffs, through their counsel,
                   5   misrepresented the nature of the June Production to the Court by misrepresenting
                   6   the documents in that production as mere “duplicates” of previously produced
                   7   documents. See, e.g., Dkt. 251-1, ¶ 64 (“Based on information received from SSC
                   8   and my analysis of these files and the files previously produced in June 2023 and
                   9   April 2024, substantially all of the 8100 documents referenced in the paragraph
              10       appear to have been previously produced in one or both of the June 2023 and April
              11       2024 productions.”). As noted above, the Court expressly based its findings of
              12       mootness regarding the so-called “duplicates” on Plaintiffs’ representations. See
              13       Dkt. 265 at 12-13. Those misrepresentations resulted in Feit Electric
              14       unnecessarily expanding resources to conduct extensive analysis on these
              15       purported duplicates in order to reveal the true nature of Plaintiffs’ productions.
              16       No reasonable explanation for these omissions by Plaintiffs exists other than to
              17       attempt an end run around the Court’s order by improperly reintroducing chain of
              18       custody information previously stricken by the Court. Plaintiffs have, in fact,
              19       conceded this. See supra, § II.B.1.
              20             Plaintiffs’ counsel’s actions unnecessarily multiplied the proceedings in
              21       this case by at least the instant motion. Plaintiffs’ attorney must have known that
              22       its representations to this Court regarding the nature of the June Production
              23       contained material omissions, at best. See, e.g., Dkt. 251-1, ¶ 64. But even if
              24       Plaintiffs claim they had no knowledge that the documents contained additional
              25       metadata, their failure to remedy these issues after Feit Electric provided
              26       contradictory facts demonstrates sufficient knowledge and reckless conduct to
              27       warrant sanctions. See Handloser v. HCL Am., Inc., No. 19CV01242LHKVKD,
              28       2020 WL 6205214, at *5 (N.D. Cal. Oct. 22, 2020) (awarding attorneys’ fees
S TRADLING Y OCCA                                        -23-
C ARLSON & R AUTH
      LAWYERS
   NEWPORT BEACH
                         MOTION TO ENFORCE THE COURTS ORDER AND FOR SANCTIONS
        Case 2:22-cv-05097-AB-SHK            Document 278 Filed 10/29/24        Page 29 of 31 Page ID
                                                    #:9534


                   1   where counsel failed to correct mistakes once placed on notice and where such
                   2   failure necessitated further proceedings before the court).
                   3               3.    Attorneys’ Fees Are Warranted Pursuant to the Court’s
                   4                     Inherent Powers
                   5         The Court should also exercise its inherent power to award Feit Electric the
                   6   reasonable expenses incurred in preparing and filing the instant motion. Plaintiffs
                   7   made material misrepresentations to this Court to obtain a more favorable ruling
                   8   and then twice failed to comply with the mandates of that Court Order. Next,
                   9   Plaintiffs attempted to utilize Exhibit 1 to reintroduce chain of custody
              10       information previously stricken by the Court. This pattern of conduct
              11       demonstrates Plaintiffs’ disregard for the rules and orders of this Court, and
              12       allowing it to continue would only encourage gamesmanship.
              13             Plaintiffs have long been on notice that such conduct, particularly in the
              14       context of compliance with this Court’s orders, would not be tolerated. See, e.g.,
              15       Dkt. 177-20 at 6:15-16 (“THE COURT: I just want to make sure I understand that
              16       we’re clear because I think you’re playing games here.”); see also Dkt. Nos. 124,
              17       148, 207, 240. Moreover, this Court has also previously found Plaintiffs’ claims
              18       they misunderstood the Court’s directives to be suspect. See, e.g., Dkt. 207 at 9
              19       (“[T]he Court disagrees with the contention that Plaintiffs did not know what was
              20       required to assert representativeness, or that Plaintiffs were doing something other
              21       than allege representativeness.”). Notably, this Court has made clear that “in
              22       considering whether to impose sanctions, a district court may consider all of the
              23       disobeying party’s discovery misconduct.” Sas v. Sawabeh Info. Servs., No.
              24       CV114147MMMMANX, 2015 WL 12711646, at *7 (C.D. Cal. Feb. 6, 2015)
              25       (citing Payne v. Exxon, 121 F.3d at 508).
              26
              27
              28
S TRADLING Y OCCA                                  -24-
C ARLSON & R AUTH
      LAWYERS
   NEWPORT BEACH
                          MOTION TO ENFORCE THE COURTS ORDER AND FOR SANCTIONS
        Case 2:22-cv-05097-AB-SHK            Document 278 Filed 10/29/24        Page 30 of 31 Page ID
                                                    #:9535


                   1        D.     This Court Already Ruled That Timely Resolution of this Issue
                   2               is Appropriate
                   3         Finally, Plaintiffs have questioned the urgency of resolving the scope of
                   4   discovery. See, e.g., Ex. AA. But as explained to Plaintiffs, the Court has already
                   5   ruled on timing, and found that resolving the issue of the scope of Plaintiffs’
                   6   discovery before expert discovery and dispositive motion practice to be proper:
                   7        The Court finds that considering the motion now will lead to a more
                   8        efficient use of Court and party resources because the scope of the
                   9        case will be known through expert discovery and dispositive motion
              10            practice. This will allow the parties to focus on matters that are within
              11            the case when completing expert discovery and preparing dispositive
              12            motions.
              13       See Ex. CC (quoting Dkt. 265 at 6). Indeed, the issue was ripe for adjudication
              14       two months ago. See Dkt. 265 at 6. Plaintiffs’ continuing failure to Comply with
              15       the Court’s Order and further delays has only exacerbated the clear prejudice to
              16       Feit Electric. Enough is enough, and this issue should be resolved promptly.
              17       IV. CONCLUSION
              18             The scope of discovery should not be in flux months after the close of fact
              19       discovery. This is especially true here, where the Court has issued an order with
              20       clear directives that Plaintiffs should have been able to easily follow based on
              21       their own representations to Feit Electric and this Court. Plaintiffs’ disregard of
              22       this Court’s Orders and cavalier approach to the schedule of a case they brought
              23       are untenable here. For all of the reasons discussed herein, the Court should follow
              24       the reasoning of its August 22, 2024 Order and exclude both Exhibit 1 and the
              25       June Production in its entirety. Moreover, under the circumstances here,
              26       Plaintiffs’ conduct merits awarding monetary sanctions as well.
              27
              28
S TRADLING Y OCCA                                  -25-
C ARLSON & R AUTH
      LAWYERS
   NEWPORT BEACH
                          MOTION TO ENFORCE THE COURTS ORDER AND FOR SANCTIONS
        Case 2:22-cv-05097-AB-SHK       Document 278 Filed 10/29/24    Page 31 of 31 Page ID
                                               #:9536

                       DATED: October 29, 2024    STRADLING YOCCA CARLSON & RAUTH
                   1                              LLP
                   2
                                                  By: /s/ Salil Bali
                   3                                  Salil Bali
                   4   DATED: October 29, 2024    BENESCH FRIEDLANDER COPLAN &
                   5                              ARONOFF LLP

                   6                              By: /s/ Kal K. Shah
                                                      Kal K. Shah
                   7                                  Ziyong Sean Li
                                                      Gregory C. Proctor
                   8                                  Simeon G. Papacostas
                   9                                  Hayk Snkhchyan

              10                                 Attorneys for Defendant
                                                 Feit Electric Company, Inc.
              11
              12
              13
              14
              15
              16
              17
              18
              19
              20
              21
              22
              23
              24
              25
              26
              27
              28
S TRADLING Y OCCA                                 -26-
C ARLSON & R AUTH
      LAWYERS
   NEWPORT BEACH
                         MOTION TO ENFORCE THE COURTS ORDER AND FOR SANCTIONS
